           Case 1:14-cr-00189-DAD-BAM Document 94 Filed 08/11/15 Page 1 of 2


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 4

 5   Attorney for Defendant,
     John Derek Gitmed
 6

 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) Case No.: 1:14-cr-00189-AWI-BAM-1
11                                                  )
                         Plaintiff,                 ) STIPULATION AND ORDER TO
12                                                  ) CONTINUE SENTENCING HEARING
     vs.                                            )
13                                                  ) Date: October 19, 2015
     JOHN DEREK GITMED                              ) Time: 10:00 a.m.
14                                                  )
                        Defendant.                  ) Judge: Hon. Anthony W. Ishii
15                                                  )
16
     TO: BENJAMIN B. WAGNER, UNITED STATES ATTORNEY, AND MICHAEL
17
     TIERNEY, ASSISTANT UNITED STATES ATTORNEY, COUNSEL FOR
18   PLAINTIFF:

19          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record, that the sentencing hearing in the above captioned matter now set
21   for October 19 , 2015 at 10:00 am, may be continued to November 30, 2015. The continuance is

22   requested by counsel for Defendant, John Derek Gitmed, Attorney Michael W. Berdinella who
     will be on vacation and unavailable from September 18th, 2015 until October 2nd, 2015, Counsel
23
     for Mr. Gitmed will be unavailable and unable to adequately prepare informal and formal
24
     objections for the Sentencing Hearing, unless the matter is continued. Counsel agrees to exclude
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     time until November 30, 2015.
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              Case 1:14-cr-00189-DAD-BAM Document 94 Filed 08/11/15 Page 2 of 2


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 2            DATED: August 10, 2015
                                                  Respectfully submitted,
 3

 4                                                /s/ Michael W. Berdinella
                                                  Michael W. Berdinella
 5
                                                  Attorney for Defendant
 6                                                John Derek Gitmed
 7
              DATED: August 10, 2015
                                                  /s/Michael    G. Tierney___
 8                                                Michael G. Tierney
 9
                                                  Assistant United States Attorney

10
                                                 ORDER
11

12            The sentencing of John Derek Gitmed previously set for October 19, 2015, is continued
13   to November 30, 2015, at 10:00am in Courtroom 2 before Senior District Judge Anthony W.
14   Ishii.

15
     IT IS SO ORDERED.
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     Dated: August 11, 2015
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                                                 SENIOR DISTRICT JUDGE
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